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Attorney(s) for Plaintiff

                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

 EDWARD MINGUELA,                                  Case No.      1:20-cv-01893-NLH-
           Plaintiff,                                               AMD
 v.
                                                               Civil Action
 NICHOLAS C. ROMANTINO, BRANDON
 T. GALLAGHER, ANTHONY M. AGUS,
 ODISE A. CARR, JOSEPH D.                             AMENDED CERTIFICATION OF
 WYSOCKI, J. SCOTT THOMSON, MARY                      DEVON M. JACOB, ESQUIRE
 EVA COLALILLO, and CAMDEN
 COUNTY, NEW JERSEY,
           Defendant.

       I, Devon M. Jacob, an attorney seeking admission pro hac vice for the purposes of

representing plaintiff, Edward Minguela, in the above captioned matter, hereby certify the

following:

       1.       My current business address is P.O. Box 837, Mechanicsburg, PA 17055-0837,

telephone 717-796-7733, email djacob@jacoblitigation.com.

       2.       I am a former municipal police officer having been employed as such by an

accredited police department in the Commonwealth of Pennsylvania.

       3.       I attended the Widener University School of Law (Harrisburg), graduating in May

of 2002, in the top 10% of my class.

       4.       I am a former deputy attorney general for the Commonwealth of Pennsylvania,

where I defended the Commonwealth and its officials and employees almost exclusively in civil

rights cases.


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         5.     I worked for approximately eight years in an insurance defense law firm,

representing municipalities and their officials and employees, almost exclusively in civil rights

cases.

         6.     In total, I spent approximately 10 years serving as defense counsel in civil rights

cases.

         7.     Subsequently, I joined a Plaintiffs’ law firm, as the head of civil litigation, where

for approximately two years, I supervised an associate and staff, while overseeing a civil rights

practice devoted largely to the prosecution of civil rights cases.

         8.     In November of 2013, I opened the law firm of Jacob Litigation, Inc., a national

Plaintiffs’ civil rights law firm.

         9.     I am an active member of the National Police Accountability Project (NPAP).

         10.    I am is also an active member of the American Association for Justice (AAJ)

(formerly ATLA).

         11.    In 2015, I was elected Chair of the national civil rights section of AAJ.

         12.    In 2017, the Honorable Richard A. Posner, former judge for the Seventh Circuit

Court of Appeals, selected me to be the Director of Team Posner, Inc., for the Commonwealth of

Pennsylvania.

         13.    In July of 2018, I was elected Chair of the national Police Misconduct Litigation

Group of AAJ.

         14.    I have prosecuted or am currently prosecuting Plaintiffs’ civil rights cases, as lead

or co-lead counsel, in federal courts in PA, NV, SD, DC, LA, AZ, FL, MD, AL, TX, and MN; and

a wrongful death case in state and federal court in IL.

         15.    I have been retained to file and prosecute federal civil rights cases, in 2020, on

behalf of clients in AR and NJ.
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        16.     I have federal jury trial experience.

        17.     Most recently, in 2019, I conducted an eight day federal jury trial, as lead counsel,

without local counsel, in the civil rights case of L. Alicia Rascon, et al. v. Clinton H. Brookins,

No. CV-14-00749-PHX-JJT (D. AZ).

        18.     On February 21, 2020, Plaintiff filed the instant litigation.

        19.     Prior to filing the litigation, Plaintiff retained me to represent him as lead counsel

in the litigation.

        20.     I drafted the Complaint (Doc. 1) in this matter.

        21.     Pursuant to L.Civ.R. 101(c)(1), “Any member in good standing of the bar of any

court of the United States or of the highest court of any state, who is not under suspension or

disbarment by any court and is ineligible for admission to the bar of this Court under L.Civ.R.

101.1(b), may in the discretion of the Court, on motion, be permitted to appear and participate in

a particular case.”

        22.     L.Civ.R. 101(c)(1), further provides, “The motion shall contain a certified

statement of the applicant disclosing each bar in which the applicant is a member in good standing

including the year of admission and the name and address of the official or office maintaining the

roll of such members of its bar; in lieu thereof, the motion may attach a certificate of good standing

issued by the person or office maintaining the roll of the members of its bar.”

        23.     On October 24, 2002, I became a member of the Bar of the Commonwealth of

Pennsylvania.

        24.     I certify that I am currently, and have always been, a member in good standing of

the Bar of the Commonwealth of Pennsylvania. See attached Certificate of Good Standing.




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       25.     I am also a member in good standing of the United States District Courts for the

Eastern, Middle, and Western Districts of Pennsylvania; the United States Court of Appeals for

the Third Circuit; and the Supreme Court of the United States:

               USDC EDPA                     (11/15/2005)
               USDC MDPA                     (11/18/2002) (See attached Certificate of Good Standing)
               USDC WDPA                     (6/16/2003)
               Third Circuit                 (4/11/2003)
               US Supreme Court              (1/16/2018)

       26.     The name and address of the official or office maintaining the roll of the members
of the bar of the aforementioned courts follow:

               The Disciplinary Board of the Supreme Court of Pennsylvania
               Pennsylvania Judicial Center
               601 Commonwealth Avenue, Suite 2700
               Harrisburg, PA 17106
               (717) 783-0990

               Kate Barkman, Clerk of Court
               U.S. District Court Eastern District of Pennsylvania
               2609 U.S. Courthouse, 601 Market Street
               Philadelphia, PA 19106
               (267) 299-7099

               Peter J. Welsh, Clerk of Court
               U.S. District Court Middle District of Pennsylvania
               235 N. Washington Avenue
               Scranton, PA 18501
               (570) 207-5680

               Joshua C. Lewis, Clerk of Court
               U.S. District Court Western District of Pennsylvania
               Joseph F. Weis, Jr., U.S. Courthouse
               700 Grant Street
               Pittsburgh, PA 15219
               (412) 208-7500

               Patricia S. Dodszuweit, Clerk of Court
               Office of the Clerk, U.S. Court of Appeals for the Third Circuit
               21400 U.S. Courthouse
               601 Market Street
               Philadelphia, PA 19106
               (215) 597-2995
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               Admissions Office, Supreme Court of the U.S.
               One First Street, NE
               Washington, DC 20543
               (202) 479-3011

       27.     L.Civ.R. 101(c)(1), further provides, “The motion shall also contain a statement

certifying that no disciplinary proceedings are pending against the attorney in any jurisdiction and

no discipline has previously been imposed on the attorney in any jurisdiction.”

       28.     I certify that no disciplinary proceedings are pending against me in any jurisdiction

and no discipline has previously been imposed on me in any jurisdiction.

       29.     I am ineligible for admission to the bar of this Court under L.Civ.R. 101.1(b).

       30.     Plaintiff has consented to my association with Joseph C. Grassi, Esquire, of the law

firm of Barry, Corrado, Grassi & Gillin-Schwartz, P.C., for the purpose of Mr. Grassi serving as

local counsel in this matter.

       31.     Pursuant to L.Civ.R. 101(c)(4), I acknowledge that only an attorney at law of this

Court may file papers, enter appearances for parties, sign stipulations, or sign and receive payments

on judgments, decrees or orders.

       32.     I solemnly affirm that I will support and defend the Constitution of the United

States, that I will represent my client conscientiously and ethically, and that I will conduct myself

uprightly and according to law in all cases before this court.

       I certify that the foregoing statements made by me are true. I am aware that if any of the

foregoing statements made by me are willfully false, I am subject to punishment.


                                                      JACOB LITIGATION, INC.


                                                      _________________________________
                                                      DEVON M. JACOB, ESQUIRE

Dated: June 5, 2020
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